          EXHIBIT A3




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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA



  IN RE PORK ANTITRUST LITIGATION                             Civil No. 18-1776 (JRT/HB)



  This Document Relates to: All Actions                        ORDER REGARDING
                                                                DISCLOSURE OF
                                                                 INFORMATION


             In addition to disclosures that will be made pursuant to Rule 26(a)(1), 1 and

      other disclosures agreed to between the parties or ordered by the Court, the parties

      will disclose the following documents and/or information for the period from

      January 1, 2007 to June 30, 2018 to the extent such documents exist and are readily

      available. The parties will disclose the documents and/or information described

      below no later than March 1, 2019 unless a different deadline for disclosure has been

      established by agreement of the parties.

             As part of these initial, limited disclosures, the parties need not disclose every

      document falling within items (a)-(b) or (e)-(f), but will disclose at least one

      document sufficient to show the requested information for each year at issue to the

      extent such documents exist and are readily available. Such disclosures will be

      subject to the parties’ ability to supplement or amend these disclosures once




  1
    In making the disclosures pursuant to this Order, a disclosing party is not making
  any representations regarding whether it may use any documents, people, or
  information in support of its claims or defenses and is not agreeing that the persons
  disclosed possess information relevant to the claims or defenses. The parties will
  make required disclosures under Rule 26(a)(1) consistent with the deadline for such
  disclosures established under the federal and local rules and/or an order of this Court.


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   discovery commences, and further subject to modification by any party upon a

   showing that complying with such disclosure would be unduly burdensome.

          By providing information pursuant to these disclosures, the parties do not

   agree that any documents are discoverable or relevant and do not waive or limit their

   respective rights to object to, or oppose, any request for further disclosure or

   discovery.

          The omission of any particular category of documents from this Order does

   not preclude the parties from seeking such documents in discovery once discovery

   commences. Finally, this Order is intended to supplement, not supersede, the

   agreements of the parties and other orders of this Court concerning the parties’

   preliminary discovery activities pending determination of the Defendants’ motions to

   dismiss.

         a.     Organizational Charts:

                i.     Defendants: Organizational charts sufficient to show the names

                       and titles of individuals with the following positions or

                       responsibilities relating to pork:

                       1.     member of the board of directors;

                       2.     all executives with the title of Director, Vice President, or

                              higher (such as SVP, CEO, COO, CFO, etc.), as well as

                              their administrative assistants or secretaries;

                       3.     investor and/or creditor relations;

                       4.     the person or persons (if any, and excluding any clerical-

                              level or administrative-level personnel) who:



                                              2
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                              a.     have primary responsibility for managing or

                                     overseeing the reporting and transmitting of data

                                     directly to and from Agri Stats, Express Markets,

                                     Inc., Urner Barry, or USDA relating to pork

                                     pricing, supply, slaughter, inventory, export, or

                                     production levels;

                              b.     regularly receive the Agri Stats report entitled the

                                     “Bottom Line Report”;

                              c.     have primary responsibility for analyzing data

                                     received from Agri Stats to identify data pertaining

                                     to specific competitors; 2 and/or

                              d.     receive any other survey of pork producers that

                                     concerns the profitability, supply, or pricing of

                                     pork products.

                       5.     the person or persons who supervise the department

                              responsible for pork sales to, purchases from, trades with,

                              or co-packing transactions with other pork producers;

                       6.     all executives with the title of Director, Vice President, or

                              higher, as well as certain limited executives with the title

                              of Manager, 3 whose primary responsibilities include


  2
    Defendants do not concede, and inclusion of this subparagraph does not constitute a
  finding by the Court, that the data described in this subparagraph is transmitted to or
  received from any of the identified entities, or that it is possible to analyze Agri Stats
  data to identify data pertaining to specific competitors.
  3
    “Manager,” as used in this subparagraph and in subparagraph 7 below, includes only

                                              3
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                             determining or setting pork pricing, supply, slaughter,

                             inventory, export, or production levels, and who were an

                             officer or board member of, or otherwise formally-

                             designated participant (such as the member of a relevant

                             committee) in any of the following:

                                 a. National Pork Board

                                 b. National Pork Producers Council

                                 c. National Pork Industry Conference

                                 d. North American Meat Institute

                                 e. American Meat Institute

                                 f. American Meat Institute Foundation

                                 g. Minnesota Pork Producers Association

                                 h. North Carolina Pork Council

                                 i. South Carolina Pork Board

                      7.     all executives with the title of Director, Vice President, or

                             higher, as well as certain limited executives with the title

                             of Manager, whose primary responsibilities include

                             determining or approving a Defendant’s own pork pricing,

                             supply, slaughter, inventory, export, or production levels. 4




  individuals whose position makes them the highest level executive overseeing a
  specific pork complex, but not individuals with the position of “manager” who report
  to such individuals.
  4
    Defendants do not concede, and inclusion of this subparagraph does not constitute a
  finding by the Court, that any determinations or approvals described in this
  subparagraph are ever made or provided.

                                             4
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                     Defendants may create a list of individuals with the job

                     responsibilities listed above in lieu of producing a formal

                     organizational chart, so long as such a list provides, to the extent

                     the information is readily available, the individual’s name, title,

                     the time period during which they held that title, and for item

                     (a)(i)(6) above, the name of the trade association of which they

                     were an officer, board member, or formally-designated

                     participant and any committee memberships held.

                     With respect to (a)(i)(4) through (a)(i)(7), to the extent that a

                     particular position at a Defendant’s pork facilities typically

                     fulfills the particular job responsibility at issue, a Defendant may

                     simply identify that position and the estimated number of

                     individuals who have held that position during the relevant

                     period.

              ii.    Direct Purchaser Plaintiffs: Organizational charts sufficient to

                     show the names and titles of individuals with the following

                     positions or responsibilities relating to the purchase of pork:

                         1. Plaintiffs’ claims and allegations in the August 17, 2018,

                               Amended Complaints; and

                         2. Plaintiffs’ purchase of pork, including executives with the

                               title of Director, Vice President, or higher.

                     Plaintiffs may create a list of individuals with the job

                     responsibilities listed above in lieu of a formal organizational



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                     chart, so long as such a list provides, to the extent the

                     information is readily available, the individual’s name, title, and

                     the time period during which they held that title.

                     With respect to (a)(ii)(1) and (2), to the extent that a particular

                     position at a Plaintiff typically fulfills the particular job

                     responsibility at issue, a Plaintiff may simply identify that

                     position and the estimated number of individuals who have held

                     that position during the relevant period.

              iii.   Indirect Purchaser Plaintiffs: Commercial Indirect Purchaser

                     Plaintiffs that are businesses will disclose organizational charts

                     sufficient to show the names and titles of individuals with the

                     following positions or responsibilities relating to the purchase of

                     pork:

                         1. have primary responsibility for analyzing the prices,

                             supply levels, or availability of pork;

                         2. have primary responsibility for determining or approving

                             the sale price of pork;

                         3. purchasing pork, including executives with the title of

                             Director, Vice President, or higher; and

                         4. Plaintiffs’ claims and allegations in the Commercial IPPs’

                             Amended Complaint.

                     Plaintiffs may create a list of individuals with the job

                     responsibilities listed above in lieu of a formal organizational



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                      chart, so long as such a list provides, to the extent the

                      information is readily available, the individual’s name, title, and

                      the time period during which they held that title.

        b.    Email Systems: Identification of the email system used, including the

              name of the email system, version number (including applicable dates

              for different versions, if readily available), and time period or number of

              days for which email is retained on the system.

        c.    Non-custodial Data Sources: A list of known non-custodial data

              sources (e.g. shared drives, servers, etc.), if any, likely to contain

              discoverable ESI. These lists will identify the databases that are likely to

              contain discoverable “structured data.”

        d.    Document Retention Policies: Document retention and/or destruction

              policies, including policies or systems that automatically deleted certain

              types of documents or data (e.g., email) after a certain period, that

              applied to documents and data likely to be relevant to the claims or

              defenses in these case and that were in effect at any time during the

              period from January 1, 2007 to June 30, 2018.

        e.    Employee Technology Use Policies: Employee Technology Use

              Policies in effect during the period of January 1, 2007 to June 30, 2018,

              including (if they exist) policies concerning use by employees of

              cellphones, notebook computers, and tablets for business purposes.

              Without intending to limit, such policies may go by the following

              names: bring-your-own device (BYOD) policies, choose-your-own-



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              device (CYOD) policies, corporate-liable-employee-owned (CLEO)

              policies, corporate-owned/personally enabled (COPE) policies, mobile-

              device-management (MDM) policies, and dual-use device policies.

              Plaintiffs and Defendants will disclose if they had no such policies

              during the identified time period.

        f.    Inaccessible Data: A list of known data sources, if any, likely to

              contain discoverable ESI and that the party asserts are not reasonably

              accessible under Rule 26(b)(B) or Rule 26(b)(2)(C)(i).



        IT IS SO ORDERED.



  Dated: February 7, 2019                  s/ Hildy Bowbeer
                                          HILDY BOWBEER
                                          United States Magistrate Judge




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